       Case 5:05-cr-40017-SAC       Document 55      Filed 08/09/05   Page 1 of 6




             IN THE UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                           Plaintiff,

      Vs.                                       No. 05-40017-01-SAC

EBRIMA TUNKARA,

                           Defendant.


                           MEMORANDUM AND ORDER

             The case comes before the court on the defendant’s motion in limine

filed August 8, 2005. (Dk. 51). From the government’s marked exhibits, the

defendant seeks to exclude receipts from motels and convenience stores for lack of

foundation and as inadmissible hearsay. The defendant explains that the receipts

were found in the passenger van, that his name appears on none of the receipts, and

that the name of his co-defendant appears on some of the receipts. The receipts

are dated close in time to the charged offense and purportedly come from places

located in various parts of the United States. The defendant contends the receipts

are being offered to prove the truth of the matter asserted on them, that is, the co-

defendant stayed at that motel or purchased an item from that store on the date
       Case 5:05-cr-40017-SAC        Document 55      Filed 08/09/05     Page 2 of 6




stated on the receipt.

              In its written response, the government identifies its exhibits 4-9 and

11 as the subject of the defendant’s motion. (Dk. 52). The government says it will

not offer the receipts to prove the truth of the matters appearing on them,

specifically that the defendants paid for rooms in certain motels or purchased the

items appearing on the receipts. The government intends to offer the receipts only

to link the defendants to the locations appearing on the receipts during the period

immediately preceding their arrest. Thus, the probative value of the receipts does

not depend on the truth of the matters appearing on them but rather depends on the

link between the receipts having originated from certain locations and the receipts

being found in the same vehicle operated and occupied by the defendants.

Alternatively, the government contends that the receipts, even if hearsay, are

admissible as adoptive admissions because they were found in the passenger van

occupied by the defendants.

              “Hearsay is a statement, other than one made by the declarant while

testifying at the trial or hearing, offered to prove the truth of the matter asserted.”

United States v. Alahmad, 211 F.3d 538, 542 (10th Cir. 2000), cert. denied, 531

U.S. 1080 (2001). “Under Fed. R. Evid. 802, hearsay evidence that does not meet

an exclusion or exception is generally inadmissable at trial.” Id.

                                             2
       Case 5:05-cr-40017-SAC       Document 55      Filed 08/09/05    Page 3 of 6




             These receipts are hearsay if offered to prove the truth of matters

appearing on them, namely that the co-defendant checked into motels on the dates

recorded and paid for the rooms with cash or purchased the items listed on the

receipts on the dates recorded. See United States v. Moreno, 94 F.3d 1453, 1454-

55 (10th Cir. 1996); see, e.g., United States v. Jefferson, 925 F.2d 1242, 1252 (10th

Cir.) (“a receipt introduced as evidence of payment for a good or service

constitutes hearsay”), cert. denied, 502 U.S. 884 (1991). Rule 801(d)(2)(B) defines

hearsay to exclude a statement offered against a party who “has manifested an

adoption or belief in its [the statement’s] truth.” The Tenth Circuit has rejected the

rule of mere possession constituting an adoption of a receipt’s contents. United

States v. Jefferson, 925 F.2d at 1253 n. 13. The Tenth Circuit recently adopted the

“‘possession plus’ standard articulated by the First and Ninth Circuits, . . . [and]

admit evidence pursuant to 801(d)(2)(B) in cases . . . where ‘the surrounding

circumstances tie the possessor and the document together in some meaningful

way.’” United States v. Pulido-Jacobo, 377 F.3d 1124, 1131-32 (10th Cir.)

(defendant carried receipt in his wallet for over two months after the purchase and

the items described on the receipt were found to match actual items), cert. denied,

125 S. Ct. 679 (2004). The government here has not come forth with evidence of

other circumstances that would satisfy this possession plus standard for an

                                            3
       Case 5:05-cr-40017-SAC       Document 55      Filed 08/09/05    Page 4 of 6




adoptive admission.

             The court has reviewed the receipts and finds numerous inadmissible

hearsay statements on them. The most effective way of preventing the jury from

considering these different statements is simply excluding the actual receipts as

hearsay. Assuming a foundation of relevancy is laid, the government may be

entitled to offer testimony about the receipts for the purpose of linking the

defendants to certain locations by date. In United States v. McIntyre, 997 F.2d

687, 702-03 (10th Cir. 1993), cert. denied, 510 U.S. 1063 (1994), the admissibility

of such testimony was discussed:

      The court, however, did allow the police officer who found the documents
      to testify concerning the names and addresses contained in the documents
      and where the documents were found. The court reasoned that testimony
      regarding the documents and where they were found, if offered to link the
      defendants together and to certain locations, did not pose hearsay problems
      because it was not offered for the truth of the matter asserted. Although few
      courts have considered the issue in any detail, the overwhelming majority of
      courts, including several panels of this Circuit, have concluded with little
      discussion that circumstantial evidence is not hearsay under the Federal
      Rules of Evidence. Furthermore, academic and practical writings are in
      agreement that such evidence is not hearsay under the rules.
              ....
              Here the American Express receipt and the testimony about Exhibits
      18 [rental receipt], 19 [rental receipt], 20 [money order receipt], 23 [rental car
      receipt], and 44 [money order receipts] were introduced only link various of
      the defendants together by the “circumstance” that documents bearing the
      names of certain defendants or the location of certain drug transactions were
      found in Vickie Hogg’s possession. That testimony did not depend upon
      the truth of the assertions contained in the documents, and consequently we

                                            4
       Case 5:05-cr-40017-SAC       Document 55      Filed 08/09/05    Page 5 of 6




       conclude such evidence was not hearsay as defined by Fed. R. Evid. 801.

997 F.2d at 702-04 (footnotes omitted). The Tenth Circuit in one footnote

explained how the testimony about the receipts was being offered as circumstantial

evidence:

       It denotes evidence that is not introduced for the assertions contained therein
       or at least evidence where the party who introduces it does not rely on the
       assertions for the purposes for which they were made. Rather the document
       is introduced for the inferences that may be drawn circumstantially from its
       existence or from where it is found, regardless of whether the assertions
       contained there are true or not.

997 F.2d at 702-03 n. 16.

              To insure that the receipts are considered by the jury only for the non-

hearsay purpose proposed by the government, the court grants the defendant’s

motion to exclude the actual exhibits. The court may consider admitting testimony

regarding locations and dates found on the receipts, but it takes the admissibility of

such testimony under advisement in order to determine its relevancy within the

context of the evidence offered at trial.

              IT IS THEREFORE ORDERED that the defendant’s motion in limine

(Dk. 51) is granted insofar as the government’s exhibits 4-9 and 11 are excluded

from evidence. The admissibility of testimony about these exhibits, as discussed

above, is taken under advisement.


                                            5
Case 5:05-cr-40017-SAC    Document 55    Filed 08/09/05    Page 6 of 6




     Dated this 9th day of August, 2005, Topeka, Kansas.



                         s/ Sam A. Crow
                         Sam A. Crow, U.S. District Senior Judge




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